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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :        Case No: 1:21-mj-00331
                                            :
              v.                            :
                                            :        VIOLATIONS:
                                            :
EVAN NEUMANN,                               :
                                            :
              Defendant.                    :        18 U.S.C. § 111(a)(1)
                                            :        (Assault)
                                            :
                                            :        18 U.S.C. § 231(a)(3)
                                            :        (Civil Disorder)
                                            :
                                            :        18 U.S.C. § 1752(a)(1), (2), & (4)
                                            :        (Entering and Remaining in a Restricted
                                            :        Building or Grounds)
                                            :
                                            :        40 U.S.C. § 5104(e)(2)(F)
                                            :        (Violent Entry and Disorderly Conduct)

                                            ORDER

       In light of the government’s Motion to Unseal, and the entire record herein, this Court

grants the government’s Motion, and the matter is unsealed.

                                                                        Zia M. Faruqui
                                                                        2021.06.29
                                                                        15:37:16 -04'00'
                                                    ___________________________________
                                                    ZIA M. FARUQUI
                                                    UNITED STATES MAGISTRATE JUDGE




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